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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                                            CRIMINAL NO. 2:16CR2KS-MTP

COLEMAN VIRGIL SLADE                                                                 DEFENDANT

                               FINAL ORDER OF FORFEITURE

       Before the Court is the Government=s motion for a final order of forfeiture. [Doc. #56].

Having reviewed the motion, the Court finds that it is well taken and should be GRANTED. In

support of its ORDER, the Court finds as follows:

       WHEREAS, on October 12, 2016, this Court entered an Agreed Preliminary Order of

Forfeiture [Doc. No. 47], ordering defendant, Coleman Virgil Slade, to forfeit (1) One 2007 Private

Trailer, Tag No. PTLRL1094P, VIN: PTLRL1094P4856; and (2) One 2004 Ford F1S Pickup,

License No. LL6532, VIN: 1FTPW145X4KB78145 (the Subject Property), and

       WHEREAS, the United States caused to be published via the internet at

www.forfeiture.gov, notice of this forfeiture and of the intent of the United States to dispose of the

property in accordance with the law and as specified in the Agreed Preliminary Order of Forfeiture,

and further notifying all third parties of their right to petition the Court within thirty (30) days for

a hearing to adjudicate the validity of their alleged legal interest in the property; and

       WHEREAS, no timely claim has been filed; and

       WHEREAS, the Court finds that defendant, Coleman Virgil Slade, had an interest in the

property that is subject to forfeiture pursuant to 16 U.S.C. § 3374;

       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that (1)

One 2007 Private Trailer, Tag No. PTLRL1094P, VIN: PTLRL1094P4856; and (2) One 2004 Ford
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F1S Pickup, License No. LL6532, VIN: 1FTPW145X4KB78145 are hereby forfeited to the United

States of America pursuant to 16 U.S.C. § 3374 as follows:

       a. The defendant shall forfeit to the United States Fish and Wildlife Service,
          Office of Law Enforcement:

           (1) One 2007 Private Trailer, Tag No. PTLRL1094P, VIN: PTLRL1094P4856;

                and

           (2) One 2004 Ford F1S Pickup, License No. LL6532, VIN: 1FTPW145X4KB78145

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title and

interest to the property described above is hereby condemned, forfeited and vested in the United

States of America, and shall be disposed of according to law; and

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order.

       SO ORDERED AND ADJUDGED this the                23rd day of January, 2017.


                                               s/Keith Starrett_________________________
                                              UNITED STATES DISTRICT COURT JUDGE
